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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division


 Sony Music Entertainment, et al.                  )
                                                   )
        Plaintiffs,                                )
                                                   )
 v.                                                )   Civil Action No. 1:18cv950
                                                   )
                                                   )
 Cox Communications, Inc., et al.                  )
                                                   )
        Defendants.                                )




                                         JUDGMENT

        Pursuant to the order of this Court entered on 1/12/21 and in accordance with Federal

 Rules of Civil Procedure 58, JUDGMENT is hereby entered in favor of the Plaintiffs and against

 the Defendants in the amount of One Billion Dollars ($1,000,000,000.00).




                                             FERNANDO GALINDO, CLERK OF COURT


                                             By:                      /s/
                                                       Kathy Lau
                                                       Deputy Clerk

 Dated: 1/12/21
 Alexandria, Virginia
